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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                             )
                                                         )
                   v.                                    )
                                                         )
    RICHARD W. GATES III,                                )               Crim. No. 17-201-2 (ABJ)
                                                         )
                   Defendant.                            )


     DEFENDANT RICHARD W. GATES III’S AMENDED MOTION TO MODIFY THE
      COURT’S PREVIOUS ORDER GRANTING HIM PERMISSION TO TRAVEL

        Defendant, by and through counsel, hereby requests that the Court modify its previously

entered Order allowing him to travel to Boston, Massachusetts, for the following reasons.

        After entry of the Court’s Order, Boston newspapers published stories that Mr. Gates and

his family would be visiting Boston. Publication of that fact generated comments on the internet,

some of which were of a threatening character. 1 As a result, Mr. Gates and his wife believe it is

not prudent to travel to Boston with their children. Mr. Gates seeks approval from the Court to

change his itinerary in accordance with the new and complete itinerary which is attached to this

motion as Exhibit 1.

        If this Court grants this limited permission to travel, Mr. Gates will promptly provide

Pretrial Services with specific information about the trip. Mr. Gates will also continue to abide

by all of his other release conditions, including reporting to Pretrial Services.

        The government does not oppose Mr. Gates’s request to travel subject to any

requirements set forth by Pretrial Services.



1
 See Brian J. White, “Following guilty plea in Mueller probe, Rick Gates plans to visit Boston,” (Feb. 26, 2018),
published at https://www.bostonglobe.com/news/politics/2018/02/26/following-guilty-plea-mueller-probe-rick-
gates-plans-visit-boston/cN5oVRishOAND4dxpBwxNL/story.html#comments (accessed Feb. 28, 2018).


                                                         1
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       WHEREFORE, Mr. Gates hereby respectfully moves this Court to grant him permission

to travel according to the limits specified above.


                                                     Respectfully submitted,


                                                     /s/Thomas C. Green
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